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               IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF DELAWARE

STRAGENT, LLC,                             )
                                           )
                  Plaintiff,               )
                                           )
v.                                         ) C.A. No. 22-293-JDW
                                           )
VOLVO CAR USA, LLC,                        )
                                           )
                  Defendant.               )
                                           )


                BRIEF IN SUPPORT OF MOTION TO SEAL
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                        PRELIMINARY STATEMENT

         Defendant Volvo Car USA, LLC (“Volvo”) submits this Brief in

   support of its Motion pursuant to Local Civil Rule 5.3(c) to Seal the

   following documents (collectively referred to herein as the “Confidential

   Documents”):

         1. The Corrected Supplemental Joint Appendix (D.I. 107)


         The foregoing Confidential Document contains a highly proprietary

  and confidential Volvo technical specification titled Software Requirement

  Specification DIM (SWC: DIM 519A Base Technologies / MAIN; 3),

  Revision 5 (released February 1, 2018) (“DIM3”) (D.I. 107-1). It also contains

  three documents that discuss the content of DIM3 in great length and detail—

  Michael Nranian 2nd Supplement to Rebuttal Expert Report (D.I. 107-2),

  Eileen Davidson Supplemental Expert Report (D.I. 107-3), and Deposition of

  Magnus Jakobsson (D.I. 107-4). This proprietary technical, commercial, and

  business information from DIM3 is presently confidential and unavailable

  to the public. Disclosure of such confidential information could seriously

  impair and injure Volvo’s competitive posture in the marketplace because it

  will grant its competitors access to internal technical and commercial data.

  Volvo’s competitors could use or otherwise manipulate the confidential

  information to obtain a competitive advantage.


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         Accordingly, it is respectfully requested that the Court grant Volvo’s

  Motion to Seal the Corrected Supplemental Joint Appendix in its entirety for the

  reasons set forth herein.

                              STATEMENT OF FACTS

         Volvo respectfully incorporates herein the factual details set forth

   above and in the accompanying Declaration of Stamatios Stamoulis regarding

   the highly confidential and proprietary nature of the information that is the

   subject of this Motion.

                              LEGAL ARGUMENT


   I.     The Applicable Legal Standards for a Motion to Seal

         There exists in civil cases a common law public right of access to

   judicial proceedings and records. Goldstein v. Forbes (In re Cendant Corp.),

   260 F. 3d 183, 192 (3d Cir. 2001) (citing Littlejohn v. BIC Corp., 851 F. 2d

   673, 677-78 (3d Cir. 1988)). The party seeking to seal any part of a judicial

   record bears the burden of demonstrating that “the material is the kind of

   information that courts will protect.” Miller v. Indiana Hosp., 16 F. 3d 549,

   551 (3d Cir. 1994) (quoting Publicker Indus. Inc. v. Cohen, 733 F. 2d 1059,

   1071 (3d Cir. 1984)). This Court has the power to seal where confidential

   information may be disclosed to the public. In particular, Fed. R. Civ. P.

   26(c)(l)(G) provides for the courts’ protection of materials containing “trade


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   secret[s] or other confidential research, development, or commercial

   information[,]” upon motion by a party, to prevent harm to a litigant’s

   competitive standing in the marketplace. See Zenith Radio Corp. v.

   Matsushita Fleet Indus. Co. Ltd., 529 F. Supp. 866, 889-91 (E.D. Pa. 1981).

          The information contained in the Confidential Documents reflects

   information concerning Volvo’s proprietary technical specification provided

   to Volvo’s suppliers. Specifically, DIM3 is a confidential Volvo technical

   specification that is not known to Volvo’s competitors and would give those

   competitors an unfair advantage in the marketplace if they were made public.

   Volvo has internal procedures that are designed to protect the confidentiality

   of these specifications. The Court has previously determined that earlier

   versions of DIM3 are confidential and may be filed under seal. See D.I. 66.

     I.     Legitimate Interests Warrant the Sealing of the Confidential
            Documents

          Courts have recognized that the public right of access to judicial

  proceedings and records is not absolute and may be rebutted. Republic of the

  Philippines v. Westinghouse Elec. Corp., 949 F.2d 653, 662 (3d Cir. 1991).

  “Every court has supervisory power over its own records and files, and access

  has been denied where court files might have become a vehicle for improper

  purposes.” Little john, 851 F.2d at 678 (quoting Nixon v. Warner Commc’ns,



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  Inc ., 435 U.S. 589, 598 (1978)). Courts may deny access to and seal a

  document when it encompasses business information that might harm a

  litigant’s competitive standing. See Little john, 851 F.2d at 678 (citation

  omitted).

        This Court has held that the inclusion of trade secrets and other

  confidential information in documents warrant the sealing of such documents.

  “A well-settled exception to the right of access is the ‘protection of a party’s

  interest in confidential commercial information, such as a trade secret, where

  there is a sufficient threat of irreparable harm.’” In re Gabapentin Patent

  Litig., 312 F. Supp. 2d 653, 664 (D.N.J. 2004) (citation omitted). “The

  presence of trade secrets or other confidential information weighs against

  public access and, accordingly, documents containing such information may

  be protected from disclosure.” Id. (citations omitted). As such, a party’s

  confidential processes, chemical formulas and specifications, and research

  information should be sealed. Id. at 667-68; see Vista India, Inc. v. Raaga,

  LLC, No. 07-1262, 2008 WL 834399, at *2. (D.N.J. Mar. 27, 2008)

  (protecting “any formula, pattern, device, or compilation of information

  which is used in one’s business, and which gives him an opportunity to obtain

  an advantage over competitors who do not know or use it”) (quoting

  Restatement (Second) of Torts § 757, comment b).


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           The private interests at stake in this action warrant the relief sought.

   Here, Plaintiff and Defendant—private parties—are engaged in a dispute

   relating to certain U.S. patents. The sealing of the identified documents

   requested herein serves to protect the private proprietary business interests

   of Volvo, who has a legitimate interest in ensuring that its confidential and

   proprietary non-public commercial business and technical information

   remains undisclosed. If this information were to become publicly

   available, then Volvo’s competitors could potentially (and likely) use that

   information in the highly competitive vehicle manufacturing marketplace.

   Therefore, the release of the above-referenced confidential information

   poses a substantial risk of harm to Volvo’s legitimate business interests

   and competitive position.

     II.     Serious Injury Would Result if the Confidential Documents
             Were Not Sealed

           This Court has discretion to balance the factors for and against access

  to court documents. See Pansy v. Borough of Stroudsburg, 23 F.3d 772, 781

  (3d Cir. 1994).     Protection of a party’s interest in confidential commercial

  information, such as a trade secret, is a sufficient threat of irreparable harm,

  and is clearly defined as a serious injury. See Publicker, 733 F.2d at 1071.

           In light of its reference to, and disclosure of, non-public business



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  information that is otherwise unavailable to third parties, the public disclosure

  of the highly sensitive information in the Confidential Documents poses a

  substantial risk of harm to Volvo’s legitimate proprietary interests and

  competitive position. Disclosure of specific information related to Volvo’s

  business practices and suppliers would permit competitors to develop

  business strategies to duplicate, undercut or otherwise counter their

  commercial performance. Competitors would improperly benefit from the

  disclosure of Volvo’s non-public business and technical information and

  would likely use the confidential information to enhance their market or

  negotiation positions.

            If a competitor gains access to confidential details involving Volvo’s

   software specifications, manufacturing information and suppliers, it could

   obtain the benefit of their substantial investments without having to make its

   own expenditures of time and resources to do so. This head start that a

   competitor may derive is a significant competitive harm that would result from

   the disclosure of the Confidential Documents identified above.


     III.     Under Local Civil Rule 5.3(c)(2)(d), No Less Restrictive
              Alternative Is Available

            The concern over the public disclosure of the Confidential Documents

  must be balanced with the requirement that only the “ least restrictive



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   alternative” be utilized to restrict public access to judicial proceedings.

   Publicker, 733 F.2d at 1073. Here, no less restrictive alternative to sealing

   is available because all the information in DIM3 is confidential and the

   other documents sought to be sealed discuss DIM3 in great length and

   detail. Volvo’s request is therefore tailored to seal the confidential technical

   and commercial information. Accordingly, the most practical way to protect

   Volvo’s confidential interest is to seal the Confidential Documents identified

   herein.

                                   CONCLUSION

          For the foregoing reasons, Volvo respectfully requests the Court

   allow DIM3 (D.I. 107-1) to be sealed in its entirety. Volvo also

   respectfully requests that the Court allow the other contents of the

   Corrected Supplemental Joint Appendix—Michael Nranian 2nd

   Supplement To Rebuttal Expert Report (D.I. 107-2), Eileen Davidson

   Supplemental Expert Report (D.I. 107-3), and Deposition of Magnus

   Jakobsson (D.I. 107-4)—to be sealed in their entirety because these

   materials largely contain information derived from DIM3. Alternatively,

   Volvo respectfully requests that the Court allow Volvo to file a public

   version of the Corrected Supplemental Joint Appendix that omits DIM3

   and contains limited and selectively target redactions to the content of


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   these additional documents that discuss DIM3 within one week similar

   to what Volvo did for the Joint Appendix in compliance with D.I. 66.

   See D.I. 73.


                                    Respectfully submitted ,

 Dated: November 4, 2023
        Wilmington, DE              /s/ Stamatios Stamoulis
                                    Stamatios Stamoulis #01790-1999
                                    STAMOULIS & WEINBLATT LLC
                                    800 N. West Street, Third Floor
                                    Wilmington, DE 19801
                                    (302) 999-1540
                                    weinblatt@swdelaw.com

                                    Attorneys for Defendant
                                    Volvo Cars USA, LLC




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                            CERTIFICATE OF SERVICE

       I hereby certify that on November 4, 2023, I electronically filed the above

 document(s) with the Clerk of Court using CM/ECF which will send electronic

 notification of such filing(s) to all registered counsel.


                                          /s/ Stamatios Stamoulis
                                          Stamatios Stamoulis
